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{Rw'ma(,Jase 2:04-cr-20112-.]PI\/| Document 247 Filed 05/06/05 Page 1 Of 3 Pag€|D 364
UNITED STATES DISTRICT COURT

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for

WESTERN DISTRICT OF TENNESSEE

    

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J. 1 l l a

; e- _» ,
U.S.A. vs. DENESHA TUGGLE Docket No. 2:04§§R20112-07

Petition on Probation and Supervised Release

COMES NOW NICOLE D, PETERSON . PROBATI()N OFFICER OF THE COURT presenting
an official report upon the conduct and attitude of Denesha Tuggle Who Was placed on supervision by the
Honorable Jon Phipps McCalla sitting in the Court at Memphis, 'IN , on the_;’tl_'l_day of FebM , 2005, who
fixed the period of supervision at two 121 years , and imposed the general terms and conditions theretofore adopted
by the Court and also imposed special conditions and terms as follows:

l) The defendant shall pay a two hundred fifty dollar ($250.00) fine
2) The defendant shall cooperate/submit to DNA testing as directed by the Probation Ofticer.

3) The defendant is prohibited from gambling

RESPECTFULLY PRESENTING PETI'I`ION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

{If short insert here; if lengthy write on separate sheet and attach)

On March 29, 2005, Denesha Tuggle tested positive for marijuana There are other family issues which cause this
officer to believe the defendant may benth from mental health counseling In order for this officer to effectively
supervise and monitor this case, special conditions requiring the defendant to submit to drug/mental health treatment
as deemed appropriate are needed. She has signed Probation Form 49/Waiver OfHearing To Modify Conditions
Of Probation, adding the special conditions of participation in drug/mental health treatment as directed by the
Probation Office.

PRAYING THAT THE COURT WILL ORDER that Denesha Tuggie’s supervision be MODIFIED to include
the special conditions of participation in drug/mental health treatment as directed by the Probation Otiice.

 

 

()RDER OF COURT RESPECTFULLY,
Cons` ere and ordered this‘:_$__ day _;ij/M-
of - ' , 20@§ , and entered filed NICOLE D. PETERsoN
and made a part of the re ords in the above United States Probation OHicer
CaSe. (` /
/@WOM f ) Place: Memnhis. Tennessee

 

 

@ates Dism'ct wage Date; April 27, 2005
This document entered on the docket sh et l compliance _
with Ftu|e 55 and/or 32(b) FHCrP on :r§}" _C_I~ / C<_;_ g L& q

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United States District Court

wEsTE:RN District TENNESSEE

 

Waiver of Hearing to Modify Conditions
of ProbationISupervised Release or Extend Term of Supervision

| have been advised and understand that l am entitled by law to a hearing and assistance of counsel
before any unfavorable change may be made in my Conditions of Probation and Supervised Release or
my period of supervision being extended By "assistance of counsei," l understand that l have the right to
be represented at the hearing by counsel of my own choosing if | am abie to retain counse|. l also
understand that l have the right to request the court to appoint counsel to represent me at such a hearing
at no cost to myself if l am not able to retain counsel of my own choosing

l hereby voluntarily waive my statutory right to a hearing and to assistance of counsel. | also agree to
the following modifications of my Conditions of Probation and Supervised Release or to the proposed
extension of my term of supervision:

Defendant shall participate in a program which may include inpatient therapy for treatment of
druglalcohol dependency, including drug/alcohol testing to determine if you have reverted to the use of
drugs/alcohol You shall also abstain from the use of drugslalcohol during and after the course of
treatment

The defendant shall participate in Mental Health Treatment as deemed necessary/directed by the
U. S. Probation Office_

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Witness: M’M, Signed: *i\ 0 /\/'\ Q,QF\G huggil/
NicoLE o. PETERsoN ’bENESHA fuecLE -/o
U. S. Probation Ofiicer ProbationerlSupervised Releasee

 

   

UNITED `SATES DISTRIC COURT - W"NTER D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of` the document docketed as number 247 in
case 2:04-CR-201 12 Was distributed by f`aX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

Steffen G. Schreiner

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l\/lemphis7 TN 38103

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

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l\/lemphis7 TN 38103

Honorable .l on McCalla
US DISTRICT COURT

